1. The act of July 31, 1918 (Ga. L. 1918, p. 232; Code, chapter 92-67), providing for assessment for taxation of unreturned or grossly undervalued property, or property assessed at a figure grossly below its true value, is not unconstitutional as violating the due-process and equal protection clauses of the State and Federal constitutions for the reason that it fails to provide for a hearing before assessment by the tax-receiver, since it does provide for notice to the claimed delinquent, with opportunity to be heard by a suit in equity both as to excessiveness and taxability, before the assessment shall become final.
2. In a proceeding under the foregoing law for the collection of tax on unreturned property, it is no defense that the county tax-assessors appointed under the tax-equalization act of 1913 did not require return of the omitted property.
3. The evidence authorized the finding of the auditor to the effect that there was an omission by the taxpayer in the year 1928, and by his administrator in 1929, to return money, notes, and accounts for these years in the amounts stated in the auditor's report. According to such evidence and finding, the tax-receiver was authorized to proceed under the act of 1918 as for a failure to return property subject to taxation. *Page 535 
4. The evidence did not demand a finding in favor of the claim of discrimination based on intentional and systematic undervaluation or nontaxation of similar property.
(a) Whether or not the auditor was correct in his finding that property in the county was generally returned or assessed at not more than sixty per cent. of its market value, the claimed delinquent could not complain, where he was allowed the advantage of this percentage, and did not establish his contention that property similar to that which was found to have been unreturned was intentionally and systematically assessed at a still lower valuation.
(b) The evidence offered on the claim of discrimination, but rejected by the auditor, did not tend to establish the contention made, and was properly excluded.
5. The auditor having found upon sufficient evidence that the alleged delinquent had knowledge of the tax liability before making distribution of the estate to the sole heir at law, he correctly concluded and reported that such delinquent, although being an administrator, should not be relieved from personal liability as prayed. In such case actual good faith of the administrator would not relieve him. Evidence tending merely to show good faith was properly excluded.
6. The notice required by the Code, § 92-6702, to be given by the tax-receiver to a claimed delinquent need not contain any particular description of the property which he seeks to have returned, and a notice to one as administrator, requiring return of "stocks, cash on deposit, notes and accounts, fi. fas., and other choses in action, and said personalty being in your hands to be administered at the time when the same should have been returned for taxation," is sufficient in matter of description, as related to unreturned money, notes and accounts.
7. Under other laws, it is the duty of a tax-collector to issue execution for the taxes appearing to be due on an assessment made by the tax-receiver in pursuance of the Code, chapter 92-67, although the assessment is not then final or conclusive, but is subject to the right of the defendant in execution to arrest the process by a suit in equity, as provided by the statute.
8. In such case the execution would properly include interest at the rate of seven per cent. from December 20 in the year in which the liability arose; and if collection of a portion of the tax should be enjoined for any reason, the execution should proceed for the remainder, with interest as stated.
9. There was no merit in any of the exceptions to the auditor's report
       No. 12903. NOVEMBER 20, 1939. REHEARING DENIED DECEMBER 16, 1939.
In 1927 and 1928 Nat D. Arnold, a resident of Oglethorpe County, Georgia, returned for taxation "money, notes and accounts, $2000." He died in September, 1928, and H. H. Hardin was appointed administrator of his estate in November following. *Page 536 
In 1929 Hardin as administrator made a return of "money, notes and accounts, $2000." Taxes on the amounts returned for these three years were paid by the intestate and the administrator, respectively. On May 10, 1935, the tax-receiver, acting under the provisions of the Code, § 92-6701 et seq., gave written notice to Hardin as administrator to make a return for taxation for the years 1927 and 1928 of described real estate and of "certain personalty consisting of certain stocks, cash on deposit, notes and accounts, fi. fas., and other choses in action," which it was claimed Nat D. Arnold had failed to return for these two years. He also notified Hardin to make a return of property omitted by him as administrator from his return for 1929. No return having been filed as demanded, the tax-receiver, on July 23, 1935, made three assessments against Hardin as administrator of the estate of Arnold, one each for the years 1927, 1928, and 1929. Based on these assessments, three executions were issued against the property of "Nat D. Arnold, deceased, in the hands of H. H. Hardin, his administrator," the executions being for $4361.39 each, and bearing interest from December 20, 1927, December 20, 1928, and December 20, 1929, respectively. Two of these executions were levied on described real estate as the property of the estate of Nat D. Arnold. Thereafter Hardin, as administrator, filed an equitable petition against the tax-receiver, the tax-collector, and the sheriff, disputing the taxability of the property assessed. Code, § 92-6704. The petition alleged, that the assessments described were void, for the reasons that they included properties on which the tax had been paid, properties that were returned or should have been returned by others, and properties that were actually returned by the plaintiff's intestate and tax actually paid by him upon such return; that "to the best of his knowledge and belief that neither the intestate nor his administrator was or is liable for the years 1927, 1928, or 1929 upon any of the property described in the assessments upon which . . said fi. fas. are based; and that plaintiff and plaintiff's intestate had returned all of the taxable property of plaintiff's intestate as required by law." The substantial relief sought was that the assessments and executions should be decreed void, and that the defendants be enjoined from proceeding with the fi. fas. and levies.
In an amendment filed on December 10, 1936, it was alleged: *Page 537 
That "neither plaintiff's intestate nor plaintiff as administrator had any land to return in 1927, 1928, and 1929. For these years plaintiff's intestate (for 1927 and 1928) and plaintiff as administrator (for 1929) returned all the money, notes, and accounts held, as of the value of $2000, and paid the taxes thereon for said years returned." "Petitioner shows that it has always, and especially during the years 1927, 1928, and 1929, been the settled policy of the taxing authorities of Oglethorpe County, Georgia," to tax "money, notes, and accounts only for nominal amounts, this policy having intentionally ripened into a custom, and any attempt to vary this rule as against plaintiff or his intestate is, in the words of the Supreme Court of the United States, `an intentional violation of the principle of practical uniformity' required in tax matters. Plaintiff shows . . that for the years 1927, 1928, and 1929 money, notes, and accounts of the whole county were returned and assessed for only $60,925, $42,175, and $32,728 respectively, and since that time there has been a continued decline to the sum of $6780 in 1934, and $7232 in 1935. Plaintiff shows that for the year 1927 his intestate returned about 1/30th, for the year 1928 about 1/21st, and for the year 1929 he as administrator about 1/16th of all the money, notes, and accounts returned in the county, which is all or more than he should have been required to return, and that any assessment of any greater proportion would be confiscatory and unjust. Plaintiff shows that for each of the years in question about $3,500,000 was returned in tangible property; and upon this basis, except for the policy of the tax authorities in making nominal assessments of money, notes, and accounts for each of the three years, the assessment of money, notes, and accounts for each of these years for the whole county should have been approximately a million or more dollars. Under the law of practical uniformity plaintiff and his intestate were not required to return their property at a greater valuation than others, and any effort to collect more is unjust and contrary to law. Said assessments and executions are wholly void in so far as they include interest from any period except the date of the fi. fas., for the reason that no tax fi. fa. should bear interest except from the date it could have been issued; and the fi. fas., even if not void, could not have been issued prior to the time they were issued, or a few days before, as notices and assessments were a *Page 538 
prerequisite to their issuance. All the assessments and executions are wholly void in so far as they include taxes on money, notes, and accounts, for the reason plaintiff and his intestate for the years in controversy returned all of such property at the proportionate valuation required by the tax authorities of others in the county, and paid the taxes thereon. Said assessments and executions are further void, because Nat D. Arnold for the years 1927 and 1928, and H. H. Hardin as administrator for the year 1929, returned to the tax-receiver the property of said intestate and of said estate, which returns were submitted to the tax-assessors of the county, who passed upon the same as being correct, and said returns were entered on the tax digests of said county and taxes paid by the intestate and by his administrator." "Petitioner shows that defendants are seeking to make assessments and issue executions under the Jim Smith act (Code 1933, sections 92-6701 et seq.), which act does not supersede nor replace the tax-equalization law of this State (Acts 1913, pp. 123 et seq.), which has been administered for more than twenty years, and which is the system used in this State to the exclusion of any statute that may be in conflict therewith."
In an amendment filed on June 11, 1937, the plaintiff alleged that the "assessments and executions issuing thereon sought to be enjoined were made under the act of the Georgia legislature of 1918, on page 232, sections 1, 3, 5, and 7, . . and plaintiff alleges that said statutes are wholly void and unconstitutional," because violative of the equal-process and due-protection clauses of the State and Federal constitutions, §§ 2-102, 2-103, 1-805, 1-815, for reasons alleged. In another amendment filed on July 2, 1937, the material allegations were that at the time the plaintiff received the notice from the tax-receiver to make returns "he had on hand the sum of $1874.24, which he disbursed to the sole heir at law, Mrs. Katie Mae Hardin, on June 20, 1935, which was prior to the assessments and executions, the assessments having been made on July 23, 1935, and the executions issued on July 29, 1935." The plaintiff prayed that he be relieved of any personal liability for the tax claimed.
The case was referred to an auditor, who after hearing evidence made a report finding that the statute attacked was not invalid as claimed; that certain real estate and corporate stocks included in *Page 539 
the assessments were not subject thereto; that the assessment and execution for 1927 taxes were barred by limitation, not having been made within seven years from December 20, 1927; that it was the custom and practice of the authorities of Oglethorpe County to assess property for taxation on a basis of sixty per cent. of its fair market value; that Nat D. Arnold owned, on January 1, 1928, money, notes, and accounts of the fair market value of $68,000; that 60 per cent. thereof was $40,800; that, $2000 thereof having been returned for that year, he was in default as to taxes for 1928 on $38,800, the tax on which was $1241.60; that the execution for that year should proceed for this amount, with interest from December 20, 1928; that as to the 1929 assessment and execution the fair market value of the money, notes, and accounts in the hands of the administrator, and subject to taxation, was $78,000; that on the basis of 60 per cent. of this amount, less the $2000 returned for that year, the lawful tax for that year amounted to $1433.60; and that the applicable execution should proceed for this amount, with interest from December 20, 1929. The plaintiff admitted on the hearing that the money, notes, and accounts were of the fair market value of $68,000 in 1928, and $78,000 in 1929. The auditor found against the prayer of the petitioner that he be declared free from personal liability on said executions. No exceptions were filed by the defendants; but the plaintiff filed exceptions of fact and of law to so much of the report as was adverse to him. The exceptions were overruled, and a decree was entered in accordance with the auditor's findings. The plaintiff assigned error on the overruling of his exceptions and on the final decree.
1. The assessments were made under chapter 92-67 of the Code, which was taken from the act of July 31, 1918. Ga. L. 1918, p. 232. The pertinent provisions of this law are set forth in the Code, as follows:
§ 92-6701: "When the owner of property has omitted to return the same for taxation at the time and for the years the return should have been made, or having returned his property or part of same, has grossly undervalued the property returned, or his property has been assessed for taxation at a figure grossly below *Page 540 
its true value, such owner, or, if dead, his personal representative or representatives, shall return such property for taxation for each year he is delinquent, whether delinquency results from failure to return or from gross undervaluation, either by the delinquent or by assessors, said return to be made under the same laws, rules and regulations as existed during the year of said default, or the year in which said property was returned or assessed for taxation at figures grossly below its true value. . ."
§ 92-6702: "When such property is of that class which should be returned to the tax receiver of the county, the said tax receiver shall notify in writing such delinquent, or, if dead, his personal representative or representatives, of such delinquency, requiring that a return shall be made thereof within 20 days."
§ 92-6703: "If the delinquent or his personal representative or representatives, as provided under section 92-6702, refuses or fails to return such property after notice given him, the tax-receiver shall assess such property for taxation from the best information he can obtain as to its value for the years in default, and notify such delinquent of the valuation, which shall be final, unless the person so notified shall claim that it is excessive, in which event the further procedure shall be by petition in equity in the superior court of the county where such property is assessed. . ."
§ 92-6704: "If the delinquent or his personal representative or representatives, under section 92-6702, disputes the taxability of such property, he may raise that question by petition in equity in the superior court of the county where said property is assessed."
For convenience the foregoing law may sometimes be referred to in this opinion as the act of 1918. The plaintiff challenged its constitutionality, upon the asserted ground that since it fails to provide for a hearing before the making of assessments by the tax receiver, it is repugnant to the due-process and equal-protection clauses of the State and Federal constitutions. The attack is without substance. The act does require that the tax-receiver shall give to the person claimed to be delinquent, or to his legal representative, twenty days' notice before the assessment is made; and although it does not afford a hearing before the tax-receiver, it further provides in effect that after assessment the person against whom it is made shall be given notice of the valuation, and he may then by petition in equity contest either the correctness of the *Page 541 
amount or the taxability of the property, the assessment not to become final until the filing and determination of such petition. The act is not invalid because it does not provide for a hearing before the entry of the assessment, in view of the requirement as to notices of such impending action, and of the receiver's valuation, and the further provision that the delinquent shall be heard in the manner prescribed, before the assessment shall be final and conclusive. It is sufficient if the delinquent has an opportunity to question the validity or the amount of the assessment, either before the amount is determined or in subsequent proceedings for collection. Lanham v. Rome,136 Ga. 398 (3) (71 S.E. 770); McGregor v. Hogan, 153 Ga. 473
(112 S.E. 471) (affirmed, 263 U.S. 234, 44 Sup. Ct. 50,68 L. ed. 282); Coffin v. Bennett, 164 Ga. 350 (138 S.E. 670) (affirmed, 277 U.S. 29, 48 Sup. Ct. 422, 72 L. ed. 768);Pullman Co. v. Suttles, 187 Ga. 217 (199 S.E. 821). Nothing to the contrary was decided in Swinson v. Dublin,178 Ga. 323 (173 S.E. 93). Where a city charter provided for valuation of property by assessors for the purpose of taxation, and for appeal to the mayor and aldermen, by any dissatisfied taxpayer, it did not provide for any notice, either before or after the assessments by the assessors, in order that the taxpayer might take an appeal, if dissatisfied. Under such statute the property owner would not know that the assessment had been made, or that there was anything from which an appeal might be taken. The decision did not hold that notice and opportunity for hearing before the assessors were essential, regardless of the right of appeal; but its meaning is that the statute did not provide for notice, either before or after the assessment, in order that the purported right of appeal might be exercised. Compare Savannah c. Ry. Co. v. Savannah, 96 Ga. 680 (2) (23 S.E. 847). The decision in Richards v. Zentner, 176 Ga. 222
(167 S.E. 516), did not deal with the constitutionality of a statute, but involved increase of valuations above returns made, without notice and hearing as provided by law.
Nor is the present case like Mott v. Georgia State Board ofExaminers, 148 Ga. 55 (2) (95 S.E. 867), in which it was held that "The provision in the act for an appeal to the superior court after the board has rendered judgment of condemnation is not a compliance with the mandate of the constitution." Mott was an optometrist *Page 542 
who had been engaged continuously in the practice of his profession for at least two years before the passage of the act establishing the board of examiners. He applied for license, but his application was refused without notice or hearing. The statute was construed by this court as not providing for such notice or hearing in case of an applicant who "shall have been guilty of grossly unprofessional and dishonest conduct," and the refusal, it appeared, was based upon this ground. The law thus permitted denial of the plaintiff's right to continue in theprofession in which he was already engaged, pending an appeal and trial in the superior court. For the time being, it took from him a right which he already had, and that without notice or hearing; whereas under the act of 1918 a property owner can be deprived of nothing until he is given notice and full opportunity for hearing in the superior court. To the same effect see StateBoard of Medical Examiners v. Lewis, 149 Ga. 716
(102 S.E. 24). With further reference to city charters which do not expressly or affirmatively provide for notice and hearing, seeSavannah c. Ry. Co. v. Savannah, 96 Ga. 680 (supra);McWilliams v. Tallapoosa, 137 Ga. 283 (73 S.E. 510);Simmons v. Newton, 178 Ga. 806 (174 S.E. 703).
It is insisted by the plaintiff that he is not afforded due process, for the reason that, as stated in City Council ofAugusta v. Pearce. 79 Ga. 98 (4 S.E. 104), a court of equity is an unfit instrument to assess taxes or to supervise assessments upon the naked question of value. That decision, of course, was rendered before the passage of the act of 1918, supra, providing for a suit in equity for the purposes stated therein; although even under this statute the court does not make the assessment, but will merely enjoin collection of the excess, if any, under the principle of equal protection, or prevent a sale if the property is not taxable. Callaway v. Bohler, 291 Fed. 243 (9), 250; s. c. Bohler v. Callaway, 267 U.S. 479 (3), 487 (45 Sup. Ct. 431, 69 L. ed. 745); Folsom v. Bank of Greenwood, 97 Fla. 426 (120 So. 317).
2. It was held in Mitchell County v. Phillips, 152 Ga. 787
(3) (111 S.E. 371), that the act of 1918, supra, did notrepeal the tax-equalization act of 1913 (Ga. L. 1913, p. 123, Code, §§ 92-6901-92-6917); but if it was the intent of the former statute that assessments made thereunder, or acceptance of incomplete returns, should be final, in the absence of arbitration, then the act of 1918 *Page 543 
did by implication amend that law to the extent of providing that such matters shall be open for further consideration by the taxing authorities in case of omitted property or of a gross undervaluation or assessment. The present proceeding was based upon a failure to return, and not on gross undervaluation or assessment. The fact that the assessors did not require return of this property, even if they considered the matter with the owner, did not excuse noncompliance with the act of 1918. Whether or not, after an appeal to arbitrators and determination of value by them, in pursuance of the act of 1913, a tax-receiver might still be permitted to question such valuation under the later act, is not for decision in the present case. This is true for the reason that the auditor found, upon sufficient evidence, that there was no arbitration for either of the years in question, but that there was an actual failure to return; and his findings against the plaintiff were based on such omission. The tax-receiver proceeded under the act of 1918, and the act of 1913 is inapplicable.
3. As we have just stated, the assessments made by the tax-receiver for the years 1928 and 1929, so far as here material, related to unreturned "cash on deposit, notes, and accounts," and not to an undervaluation of the same. The plaintiff contended that all money, notes, and accounts had been returned for taxation as required by law, and should not be again assessed or taxed. In Douglas v. McCurdy, 154 Ga. 814
(115 S.E. 658), it was said that if a taxpayer has $10,000 in money and returns only $500 as all of his money, he is a defaulter as to $9500, in that he failed to return this amount; and that if he has notes of the value of $15,000 and returns notes in the amount of $1000, he is in like manner a defaulter in the sum of $14,000. In each of these instances there would be an omission to return, and not a mere undervaluation. Under the principle thus ruled, the evidence authorized the finding of the auditor that there was an omission by the taxpayer and the administrator respectively to return money, notes, and accounts for the years 1928 and 1929 in the amounts stated in the auditor's report. In fact there was an agreed stipulation that on January 1, 1928, the intestate had money, notes, and accounts of the fair market value of $68,000, and that on January 1, 1929, there were money, notes, and accounts of the fair market value of $78,000 in the hands of the administrator. According to such evidence *Page 544 
and findings, the tax-receiver was authorized to proceed under the act of 1918 as for a failure to return property subject to taxation.
4. The assessments made by the tax-receiver upon unreturned money, notes, and accounts were based upon full valuation. After ascertaining the amount which had been so unreturned, the auditor further found that the plaintiff should be held liable for taxes only upon 60 per cent. of the total value, in view of a custom which he found to exist that property in Oglethorpe County was taxed at only 60 per cent. of its market value. It is contended by the plaintiff that there was no evidence to sustain the finding as to such custom, but that, so far as any custom existed, it was to tax tangible property at from 30 to 60 per cent. of its value, and to tax intangibles, such as money, notes, and accounts, at only a nominal valuation, or not to tax them at all. The plaintiff thus seeks an application of the rule that where the taxing authorities intentionally and systematically
assess property for taxation at less than its full value, the taxpayer is entitled to have the assessment on his property reduced to the same proportion of value that is applied generally to similar property. See City of Moultrie v. Moultrie BankingCo., 177 Ga. 714 (3) (171 S.E. 131); Mayor c. of Savannah
v. Fawcett, 186 Ga. 132, 136 (197 S.E. 253); Yakima Valley Bank v. Yakima County, 149 Wn. 552 (271 P. 820); Spokane 
Eastern Trust Co. v. Spokane County, 70 Wn. 48 (126 P. 54, Ann. Cas. 1914B, 641); Coombes v. Coral Gables, 124 Fla. 374
(168 So. 524); Cummings v. Merchants National Bank of Toledo,101 U.S. 153 (25 L. ed. 903); Stanley v. Albany County Board of Supervisors, 121 U.S. 535 (7 Sup. Ct. 1234, 30 L. ed. 1000); West Penn Power Co. v. Board of Review, 112 W. Va. 442
(164 S.E. 862); Cen. R. Co. v. Martin, 65 F.2d 613; Taylor v. Louisville c. R. Co., 88 Fed. 350; Booneville National Bank v. Schlotzhauer, 317 Mo. 1298 (298 S.W. 732, 55 A.L.R. 489); Folsom v. Bank of Greenwood, 97 Fla. 426 (120 So. 317). The present case does not call for an application of the rule stated. This is true for the reason that the burden is upon the taxpayer to establish by competent evidence the alleged intentional and systematic undervaluation or non-taxation; and the evidence did not demand, even if it might have authorized, a finding of such in the instant case. As to burden of proof, see Aberdeen Bank v. Chehalis *Page 545 
Co., 166 U.S. 440 (17 Sup. Ct. 629, 41 L. ed. 1069); Amoskeag Savings Bank v. Purdy, 231 U.S. 373 (34 Sup. Ct. 114,58 L.ed. 274); Sunday Lake Iron Co. v. Wakefield, 247 U.S. 350
(38 Sup. Ct. 495, 62 L. ed. 1154); Chicago Great Western Railway Co. v. Kendall, 266 U.S. 94 (45 Sup. Ct. 55, 69 L. ed. 183); Callaway v. Bohler, 291 Fed. 243, 251-2; Bohler v. Callaway,267 U.S. 479, 489-90 (45 Sup. Ct. 431, 69 L. ed. 745); Folsom v. Bank of Greenwood, 97 Fla. 426 (3), 429-30 (120 So. 317). It is true there was evidence to show that very little property of the kind here under consideration was returned during the years in question, and that the amount was gradually decreasing from year to year; but there was no evidence that any person besides the plaintiff and his intestate had failed to return property of this class which should have been returned, or that any property was habitually accepted by the taxing authorities at any particular percentage below the 60 per cent. valuation referred to by the auditor. The court could not know, without proof, the quantity of personalty that ought to have been returned in the county; nor would a mere difference, however great, between the amount of the returns on intangibles and the amount of other classes of property establish an intentional and systematic policy of any kind on the part of the taxing authorities. CompareGeorgia Railroad c. Co. v. Wright, 125 Ga. 589 (16) (54 S.E. 52). Nor would mere defaults by others serve as an excuse for the plaintiff.
The auditor, however, excluded some evidence which, it is contended, would have tended to show a discrimination against the plaintiff in reference to the assessments under investigation. He excluded from evidence the following extract from a pamphlet purporting to be a discussion of Georgia problems by a citizen of this State: "Georgia's estimated wealth is $4,420,000,000, according to the bulletin of the National Industrial Conference Board, issued February 25, 1930. Fully one half of this was classed as intangible property. Only the merest fraction of intangibles gets on the tax digest. The amount is steadily decreasing. It was greater in 1910 than in 1928, by $4,247,000. In 1875 it was 14.5% of the total taxable wealth; in 1928 it had dropped to 3.4%." The auditor did not err in excluding this statement. In the first place, the evidence was hearsay. In the second place, it did not relate to any specific condition in Oglethorpe County at any time, and *Page 546 
did not tend to show the existence of any intentional and systematic policy with regard to the taxation of any class of property of that county. The auditor also excluded from evidence a written statement by the cashier of a bank in the county, showing the total deposits on the first days of January in each of several years beginning with the year 1930. According to the statement, the deposits amounted to something more than $70,000 on January 1 of that year, but thereafter dropped continuously for two or three years, and then increased progressively for several years. The auditor did not err in excluding this statement. Regardless of the fact that the statement referred only to years subsequent to those for which the contested assessments were made, there was nothing to show the residence of the depositors, nor did the statement as a whole tend to show any fixed policy on the part of the taxing authorities as to assessments of money in Oglethorpe County. Still other evidence was rejected by the auditor, but none of it tended more directly to establish the alleged discrimination than the proffered evidence to which reference has just been made, and the auditor did not err in excluding it.
Even if the auditor may have been incorrect in his finding that property in the county was generally returned or assessed at 60 per cent. of its market value, the plaintiff could not complain, where he was allowed the advantage of such percentage, and did not establish his contention that money, notes, and accounts were intentionally and systematically assessed at a still lower valuation. As to alleged discrimination, the court did not err in overruling the exceptions of law and of fact to the auditor's report, or in confirming the report.
5. Although the executions issued upon the assessments as made by the tax-receiver were levied on property described as that of the plaintiff's intestate, and no effort appears to have been made to hold the plaintiff administrator personally liable, he nevertheless amended his petition so as to seek relief from personal liability. Evidence was heard in regard to the issue, and a finding was made upon it. It appeared from the evidence that the administrator had distributed the estate to the sole heir at law, with the exception of a balance which might be insufficient to satisfy the extra claim for taxes, so far as it was found to be just by the auditor. The auditor reported, however, as a finding of fact, that at *Page 547 
the time of making such distribution the plaintiff had knowledge that in 1928 his intestate had omitted making return of a large portion of money, notes, and accounts as of January 1, 1928, or had grossly undervalued the same, and that he had similar knowledge with respect to the return which he himself made for the year 1929. In these circumstances the plaintiff would not be relieved from liability, although he may have given notice to creditors in pursuance of law (Code, § 113-1505), and the present claim for taxes was not asserted, or brought to the attention of the plaintiff by any taxing official until after such distribution. If the plaintiff, as administrator, had knowledge of such tax liability, he distributed the estate at his peril, and it is immaterial that the claim for taxes was not asserted within the time fixed by law after notice by the administrator to creditors, or before such distribution. Allen v. ConfederatePublishing Co., 121 Ga. 773 (2) (49 S.E. 782); Stokes v.Robertson, 143 Ga. 721 (5) (85 S.E. 895). The evidence authorized the finding of fact as made by the auditor upon the issue of knowledge, and he did not err in his conclusion of law that the plaintiff should not be relieved from personal liability.
The plaintiff excepted to rulings of the auditor excluding evidence tending to show his good faith in failing to make a return of the omitted property for the years in question. There was no error in excluding this evidence. The plaintiff's good faith would neither excuse a failure in this respect; nor relieve him from personal liability, if he had knowledge of the facts before making distribution.
6. It is contended that the notices given by the tax-receiver did not specify any particular intangible property that had not been returned as required by law. The language of the notice as to this class of property as related to the year 1928 was as follows: "certain stocks, cash on deposit, notes and accounts, fi. fas., and other choses in action." The notice as to the same class of property for 1929 was: "stocks, cash on deposit, notes and accounts, fi. fas., and other choses in action, and said personality being in your hands to be administered at the time when the same should have been returned for taxation." The tax-receiver was proceeding under the act of 1918, the language of which is quoted above. The act relates to property which the owner has omitted to return, or which has been grossly undervalued by him, or assessed at a figure grossly *Page 548 
below its value. The act further provides that the owner of any such property shall return the same for taxation for each year he is delinquent (Code, § 92-6701), and that "when such property is of that class which should be returned to the tax-receiver of the county," the said tax-receiver shall give notice "of such delinquency, requiring that a return shall be made thereof within 20 days." Code, § 92-6702. It will be seen that the statute makes it the duty of the delinquent or his legal representative to make a proper return of such omitted or undervalued property without notice, and that the provision as to notice is merely a step in the procedure for enforcing the duty if it is not voluntarily performed. The statute makes no requirement as to specification of property; and since it is the duty of an owner or his representative to return all of such property even without notice, and since the tax-receiver is not presumed to have an acquaintance with the property such as the owner or his legal representative would have, particularity of description in the notice given by such officer is unnecessary. The descriptions contained in the notices given by the tax-receiver in this case were sufficient to put the machinery of the law in operation, and to require the plaintiff to make proper returns, in default of which the tax-receiver would proceed as provided in § 92-6703. It follows that the assessments as made were not illegal for want of a sufficient description in the notices.
7. There is no merit in the contention that the executions could not issue until the assessments became final and conclusive by the procedure provided by the act of 1918. Cf. Coffin v.Bennett, 164 Ga. 350 (138 S.E. 670). It is true that the act referred to contained no provision for issuance of execution by the tax-collector; but when this property was assessed by the tax-receiver, it was the duty of the tax-collector, under other laws, to proceed to collect the tax by issuing executions based upon the assessments, subject to the right of the defendant in execution to arrest the process by a suit in equity as provided by the statute. Georgia Railroad c. Co. v. Hutchinson,125 Ga. 762 (3), 770 (54 S.E. 725).
8. The executions included interest from December 20 of each year respectively. The auditor, after determining the amount of the money, notes, and accounts which had not been returned for each of these years, found that the plaintiff was liable for taxation upon 60 per cent. of their value, and that the amount of the *Page 549 
tax thus ascertained should bear interest at the rate of 7 per cent. from December in the year in which the liability arose. He reported as conclusions of law that the executions should proceed for these amounts, but should be enjoined as to the excess. It is contended that the plaintiff should not have been charged with interest before the date of the assessments. There is no merit in this contention. The Code, § 92-7601, declares that all executions issued for taxes by the State or any county thereof shall bear interest at the rate of 7 per cent. per annum from the time fixed by law for issuing the same. The time fixed by law is December 20 in each year. § 92-5102. Each execution was properly made to bear interest from December 20 of the year for which it was issued, although the assessments were not made, and the executions were not issued, until the year 1935. CentralRailroad c. Co. v. Wright, 124 Ga. 596 (14), 618 (53 S.E. 251); Georgia Railroad c. Co. v. Wright, 125 Ga. 589 (21) (54 S.E. 52). In the latter case it was said that onlyexecutions bear interest; and that if a taxpayer tenders the amount of the tax due by him before execution is actually issued, no interest on the tax can lawfully be required of him, even though the taxes are past due. There was no tender in the present case. It may be remarked, however, that for the purpose of remedying the situation referred to in that decision the legislature, in 1917, passed an act providing that all taxes due the State or any county, remaining unpaid after December 20, shall bear interest at the rate of 7 per cent. per annum from said date, and that the tax-collectors shall collect the interest on such unpaid taxes and account for same in their final settlements. Ga. L. 1917, p. 197; Code, § 92-5001.
The plaintiff insists that the present claims for taxes were not liquidated, since they did not become final and conclusive until judgment in the equity suit instituted by him; and that the act of 1917 should be construed as applying only to taxes accruing upon regular returns, and not to taxes based on assessments which may be subject to contest under the act of 1918. We can not concur in the contentions in regard to interest. It was found on sufficient evidence that taxes in stated amounts were due by the plaintiff on unreturned property for the years 1928 and 1929. The taxes were due on December 20 in each of these years respectively, and collection was merely delayed because the property was not *Page 550 
returned. The auditor's findings as to interest were correct, and the trial judge properly so held.
9. There was no merit in any of the exceptions of law or fact to the auditor's report. The court did not err in overruling all of such exceptions, and in entering a decree in accordance with such report.
Judgment affirmed. All the Justices concur.
                        ON MOTION FOR REHEARING.